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                       Case 1:13-cr-00046-SPW Document 170 Filed 10/11/16 Page 1 of 1

      AO 247 (Rev, l 1/1 l) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page I of 2 (Page 2 Nol fi


                                              UNITED STATES DISTRICT COURT
                                                                                for the
                                                                      District of Montana

                          United States of America
                                         v.             )
                       Hamar Renova-Castillo            )
                                                                                       Case No:       CR 13-46-BLG-SPW
                                                        )
                                                        )                              USM No: 97196-308
                                                                                                      -----------------
      Date of Original Judgment:             02/05/2014 )
                                           -----------
      Date of Previous Amended Judgment: _ _ _ _ _ __ )                                Mark Werner (appointed)
      (Use Date of Last Amended Judgment if Any)                                       Defendant's Attorney


                         ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                  PURSUANT TO 18 U.S.C. § 3582(c)(2)
              Upon motion of          D
                                     the defendant            D
                                                       the Director of the Bureau of Prisons                        IZI
                                                                                                   the court under 18 U.S.C.
      § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
      subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
      § 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §I BI. I 0
      and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
      IT IS ORDERED that the motion is:
                 0DENIED. IZ!GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
      the last judgment issued) of 135 months        months is reduced to 108 months
                                                    (Complete Parts I and 11 of Page 2 when motion is granted)




      Except as otherwise provided, all provisions of the judgment dated                           02/05/2014
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                                                                                                                          shall remain in effect.



                                                                               L~~rw~
      IT IS SO ORDERED.
                                        /{
      Order Date:                  10¢2016
                                                                                                               Judge's signature

      Effective Date:                                                                      Susan P. Watters, U.S. District Court Judge
                          -  --------
                          (if different from order date)                                                   Printed name and title
